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                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


JOLENE K. YOUNGERS,
AS PERSONAL REPRESENTATIVE OF THE
WRONGFUL DEATH ESTATE OF ROXSANA
HERNANDEZ,

              Plaintiff,

v.                                                              No. 1:20-cv-00465 WJ-JMR

MANAGEMENT & TRAINING CORPORATION,
LASALLE CORRECTIONS TRANSPORT LLC,
LASALLE CORRECTIONS WEST LLC,
LASALLE MANAGEMENT COMPANY LLC,
GLOBAL PRECISION SYSTEMS LLC,
TRANSCOR AMERICA LLC,
CORRECTIVE, INC.,

              Defendants,

and

GLOBAL PRECISION SYSTEMS, LLC,

              Third-Party Plaintiff,

v.

ASSET PROTECTION AND SECURITY SERVICES, L.P.

              Third-Party Defendant.


                               CERTIFICATE OF SERVICE

       I hereby certify Defendant Global Precision Systems, LLC’s Responses to Plaintiff’s Third

Set of Requests for Production were emailed to Plaintiff c/o Daniel Yohalem,

daniel.yohalem@gmail.com, Katherine Murray, kemurraylaw@gmail.com, Dale Melchert,

dale@transgenderlawcenter.org, Lynly Egyes, lynly@transgenderlawcenter.org, R. Andrew Free,
      Case 1:20-cv-00465-WJ-JMR Document 470 Filed 09/30/24 Page 2 of 2




andrew@immigrantcivilrights.com, Cynthia B. Morgan, cmorgan@gelaw.com, Kathryne L.

Hemmings, khemmings@gelaw.com,           Ken Massey, kmassey@gelaw.com, Barbara J. Hart,

bhart@gelaw.com, on the 30th of September, 2024.


                                                       Respectfully Submitted,

                                                       BUTT THORNTON & BAEHR PC

                                                       /s/ Monica R. Garcia
                                                       Monica R. Garcia
                                                       Kristin A. Dearth
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                                                       Albuquerque, New Mexico 87190
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                                                       Counsel for Defendant
                                                       Global Precision Services, LLC


I HEREBY CERTIFY that on the 30th day of
September 2024, I filed the foregoing electronically
through the CM/ECF system, which caused the
following parties or counsel to be served by
electronic means, as more fully reflected on the
Notice of Electronic Filing:

All Counsel of Record

/s/ Monica R. Garcia
Monica R. Garcia
